             Case 3:23-cv-05626-BHS Document 29 Filed 12/04/23 Page 1 of 4




 1                                                         The Honorable Benjamin H. Settle
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                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 9
     THE GEO GROUP, INC.,                           NO. 3:23-cv-05626-BHS
10
                               Plaintiff,           DEFENDANTS’ RESPONSE TO
11                                                  GEO’S MOTION FOR LEAVE
            v.                                      AND CROSS-MOTION FOR
12                                                  LEAVE TO FILE UPDATED
     JAY R. INSLEE, in his official capacity as     NANTO DECLARATION
13   Governor of the State of Washington;
     ROBERT W. FERGUSON, in his official            NOTE ON MOTION CALENDAR:
14   capacity as Attorney General of the State of   DECEMBER 8, 2023
     Washington,
15
                               Defendants.
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      DEFENDANTS’ RESPONSE TO GEO’s
      MOTION FOR LEAVE TO FILE AND                           ATTORNEY GENERAL OF WASHINGTON
      CROSS-MOTION FOR LEAVE TO FILE                               1125 Washington Street SE
      UPDATED NANTO DECLARATION                                         PO Box 40100
                                                                   Olympia, WA 98504-0100
                                                                        (360) 753-6200
      NO. 3:23-cv-05626-BHS
             Case 3:23-cv-05626-BHS Document 29 Filed 12/04/23 Page 2 of 4




 1                                              RESPONSE
 2          The State Defendants do not oppose GEO’s motion for leave to file an updated Bruce
 3   Scott declaration so long as the State may also submit a supplemental Miko Nanto declaration,
 4   which provides a more complete description of the Department of Health’s (DOH) attempts to
 5   inspect GEO’s facility. See Second Nanto Decl., ¶¶ 12–18. In particular, Ms. Nanto’s declaration
 6   explains that Mr. Scott twice turned away the DOH inspectors under the guise of ongoing
 7   litigation, even though this Court has not issued any preliminary injunction enjoining the State
 8   from conducting inspections as authorized under HB 1470, § 3 (now codified at Wash. Rev.
 9   Code § 70.395.050). Id.
10          As to GEO’s suggestion that DOH’s attempted inspections somehow change the standing
11   analysis, GEO is wrong. See Dkt. #17 at 15–16; Dkt. #26 at 6–7. As GEO’s filing makes clear,
12   DOH has communicated no specific warning or threat to initiate proceedings for violations of
13   HB 1470. See Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1139 (9th Cir. 2000).
14   DOH simply seeks to conduct inspections to determine if a violation has even occurred and if
15   any action should be taken at all. See Second Nanto Decl., ¶ 12.
16          Moreover, GEO did not allege that DOH’s authority to inspect the Northwest ICE
17   Processing Center causes concrete harm sufficient to confer standing for GEO to challenge
18   HB 1470. GEO’s complaint takes issue with Sections 2 and 4 of HB 1470. See, e.g., Dkt. #1
19   ¶¶ 65, 66, 70, 71. But GEO lacks a concrete injury because DOH has not promulgated rules
20   under section 2 and GEO is not under a contract subject to Section 4. See Dkt. #17 at 15–16.
21          Even if GEO had alleged concrete harm as to Section 3’s inspection requirements, GEO
22   nowhere indicated that such inspections interfere with its operations or conflict with its
23   obligations under ICE’s Performance Based National Detention Standards (PBNDS). Indeed,
24   GEO could not allege concrete harm because the Ninth Circuit has already held that similar state
25   inspections and data collection of immigration facilities “do[] not . . . disturb any federal arrest
26   or detention decision.” United States v. California, 921 F.3d 865, 885 (9th Cir. 2019).
     DEFENDANTS’ RESPONSE TO GEO’s                     1               ATTORNEY GENERAL OF WASHINGTON
                                                                             1125 Washington Street SE
     MOTION FOR LEAVE TO FILE AND                                                 PO Box 40100
     CROSS-MOTION FOR LEAVE TO FILE                                          Olympia, WA 98504-0100
     UPDATED NANTO DECLARATION                                                    (360) 753-6200


     NO. 3:23-cv-05626-BHS
            Case 3:23-cv-05626-BHS Document 29 Filed 12/04/23 Page 3 of 4




 1          In sum, DOH’s recent attempts to exercise its authority under HB 1470 and inspect
 2   GEO’s facility does not change the standing analysis or the merits of GEO’s claim—there is no
 3   harm and there are no Supremacy Clause concerns. This Court should deny GEO’s preliminary
 4   injunction and grant the State’s motion for dismissal.
 5          DATED this 4th day of December 2023.
 6                                               ROBERT W. FERGUSON
                                                  Attorney General
 7
                                                 s/ Marsha Chien
 8                                               MARSHA CHIEN, WSBA 47020
                                                 CRISTINA SEPE, WSBA 53609
 9                                                 Deputy Solicitors General
                                                 1125 Washington Street SE
10                                               PO Box 40100
                                                 Olympia, WA 98504-0100
11                                               (360) 753-6200
                                                 Marsha.Chien@atg.wa.gov
12                                               Cristina.Sepe@atg.wa.gov
13                                               ANDREW R.W. HUGHES, WSBA 49515
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14                                               800 Fifth Avenue, Suite 2000
                                                 Seattle, WA 98104
15                                               (206) 464-7744
                                                 Andrew.Hughes@atg.wa.gov
16
                                                 Attorneys for Defendants Governor Jay R. Inslee
17                                               and Attorney General Robert W. Ferguson
18
                                                 I certify that this memorandum contains 416
19                                               words, in compliance with the Local Civil Rules.
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     DEFENDANTS’ RESPONSE TO GEO’s                   2              ATTORNEY GENERAL OF WASHINGTON
                                                                          1125 Washington Street SE
     MOTION FOR LEAVE TO FILE AND                                              PO Box 40100
     CROSS-MOTION FOR LEAVE TO FILE                                       Olympia, WA 98504-0100
     UPDATED NANTO DECLARATION                                                 (360) 753-6200


     NO. 3:23-cv-05626-BHS
            Case 3:23-cv-05626-BHS Document 29 Filed 12/04/23 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE
 2          I hereby declare that on this day I caused the foregoing document to be electronically
 3   filed with the Clerk of the Court using the Court’s CM/ECF System, which will serve a copy of
 4   this document upon all counsel of record.
 5          DATED this 4th day of December 2023, at Olympia, Washington.
 6
                                                   s/ Kelsi Zweifel
 7                                                Kelsi Zweifel
                                                    Confidential Secretary
 8                                                1125 Washington Street SE
                                                  PO Box 40100
 9                                                Olympia, WA 98504-0100
                                                  (360) 753-4111
10                                                Kelsi.Zweifel@atg.wa.gov
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     DEFENDANTS’ RESPONSE TO GEO’s                 3              ATTORNEY GENERAL OF WASHINGTON
                                                                        1125 Washington Street SE
     MOTION FOR LEAVE TO FILE AND                                            PO Box 40100
     CROSS-MOTION FOR LEAVE TO FILE                                     Olympia, WA 98504-0100
     UPDATED NANTO DECLARATION                                               (360) 753-6200


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